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              EXHIBIT D
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                         OFFICIAL ELECTION BULLETIN
                                    November 27, 2019
_____________________________________________________________________________________________


TO:           County Election Officials and County Registrars

FROM:         Chris Harvey, Elections Division Director

RE:           Pickup of DRE Voting System Equipment

______________________________________________________________________

As has been previously communicated, the Secretary of State’s Office will begin the
process of taking custody of all components of the DRE voting system, including
ExpressPolls, OS scanners, encoders, memory cards, and any media that contains
election data, ballot data, or vote data.

A state contractor, Premier, will be taking custody of and securing all of the DRE voting
system. As has also been previously communicated, this equipment must be preserved
in a secure atmosphere due to ongoing litigation. Once the judge overseeing the
litigation allows for it, the equipment will be securely recycled.

If a county refuses to turn over county-owned DRE Voting System Equipment, the
county will have to continue to store that equipment in a secure manner and, when
authorized by the judge, be prepared to dispose of the equipment (at county expense)
in a way that is consistent with the secure destruction of materials containing
confidential information. Because each DRE contains GEMS database information and
votes cast, the DREs cannot be released out of your custody, transferred, or sold to any
other third party.

Once the inventory list is returned to the Secretary of State’s Office, we will get the lists
to the state Department of Administrative Services (DOAS), who will get the list to the
contractor, Premier, to schedule pickup of the old equipment.

Premier will contact each county and give a date for pickup and an approximate time
window for pickup. Counties need not do anything to or with the equipment prior to pick
up except to make sure that the path to the equipment is clear and that the equipment
to be picked up is clearly identified. If a county has some special circumstances for pick
up, they should communicate that to Premier upon being notified of the pickup date and
time.
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